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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )         Docket No. 4:06CR3062
           v.                       )
                                    )
ALEXANDER PRIETO,                   )
                                    )                    ORDER
                Defendant.          )
                                    )




     On the court’s own motion,

     IT IS ORDERED:

     1. The change of plea hearing is continued from August 18
to August 31, 2006 at 3:30 p.m. before the undersigned magistrate
judge in Courtroom 2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     3.   Defendant shall appear at the hearing.

     DATED: August 14, 2006.

                                   BY THE COURT:


                                   S/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
